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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                       11/15/2021
---------------------------------------------------------------X
PARALLAX HEALTH SCIENCES, INC.,                                :
                                                               :   20-CV-2375 (LGS) (RWL)
                                    Plaintiff,                 :
                                                               :   ORDER
                  - against -                                  :
                                                               :
EMA FINANCIAL, LLC                                             :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

         An inquest hearing is scheduled for December 7, 2021 at 10:30 a.m. Defendant

shall bring a fact witness (or witnesses), presumably the declarant Felicia Preston, who

can answer questions under oath about the transaction documents and damages

calculations set forth in the Defendant’s filings.



                                                     SO ORDERED.



                                                     ______________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated:        November 15, 2021
              New York, New York




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